Case 6:22-cv-00885-RRS-CBW Document 83 Filed 05/13/22 Page 1 of 2 PageID #: 3620




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION


  STATE OF LOUISIANA ET AL                               CASE NO. 6:22-CV-00885

  VERSUS                                                 JUDGE ROBERT R. SUMMERHAYS

  CENTERS FOR DISEASE CONTROL &                          MAGISTRATE JUDGE CAROL B.
  PREVENTION                                             WHITEHURST

                                     MINUTES OF COURT:
                                        Motion Hearing
   Date:                May 13, 2022     Presiding: Judge Robert R. Summerhays
   Court Opened:        10:05 a.m.       Courtroom Deputy: Paula Jordan
   Court Adjourned:     12:25 p.m.       Court Reporter:      LaRae Bourque
   Statistical Time:    2/20             Courtroom:           CR3


                                          APPEARANCES
   Elizabeth Murrill, Drew Ensign,              For   State of Louisiana et al
   Joseph S. St.John and Michael Talent


   Jean Lin, Jonathan Kossak,                      For      Centers for Disease Control &
   John Robinson, and                                       Prevention et al
   Karen King

   Monika Y Langarica                              For      Amicus
   Matthew Scott Vogel

                                          PROCEEDINGS

  This case came on for hearing on Motion for Preliminary Injunction [13], filed by plaintiffs. The
  motion was argued and IT IS ORDERED that said motion is hereby TAKEN UNDER
  ADVISEMENT.

  IT IS FURTHER ORDERED that the Motion for Limited Intervention [62], filed by Kevin Alexi
  De Leon De Leon, Alicia De Los Angeles Duran Raymundo, Innovation Law Lab. The motion
  was argued and is hereby DENIED.

  A written ruling will be issued by the Court.
Case 6:22-cv-00885-RRS-CBW Document 83 Filed 05/13/22 Page 2 of 2 PageID #: 3621
